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                                                                               U.S. DISTRICT COURT
                                                                            NORTllERN DISTRICT OF TEXAS
                                                                                      FILED
                        IN THE UNITED STATES DISTRICT C URT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION                                JAN - 3 2019

JANE CUMMINGS,                                   §                           CLERK, U.S. DISTRICT COURT
                                                 §                             By
                                                                                        Deputy
                Plaintiff,                       §
                                                 §
vs.                                              §    NO. 4: 18-CV-546-A
                                                 §
TOTAL EYE CARE,                                  §
                                                 §
                Defendant.                       §


                                    MEMORANDUM OPINION
                                            and
                                           ORDER

        Came on for consideration the motion of defendant, North

Texas Total Eye Care, PA, d/b/a Total Eye Care                           ("Total Eye

Care"), to dismiss. The court, having considered the motion, the

response of plaintiff, Jane Cummings                     ("Cummings"), the reply, and

applicable authorities, finds that the motion should be granted.

                                                I.

                                Plaintiff's Allegations

        On July 3, 2018, Cummings initiated this action by the

filing of her original complaint. Doc. 1. 1 She filed her amended

complaint on October 10, 2018. Doc. 20. In summary form, Cummings

alleged the following in her amended complaint:

        She is deaf, her first and primary language is American Sign

Language      ("ASL"), and, because of her deafness, she has limited




       'The "Doc._" references are to the numbers assigned to the referenced items on the docket in
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proficiency in spoken and written English. Id. at 3 , , 9, 11.

Cummings also is legally blind due to albinism, and, as a result,

she cannot communicate effectively in writing. Id. at 3 , , 12-13.

     In May 2017, Cummings's eyeglasses broke, causing her to

contact Total Eye Care to make an appointment to obtain a new

prescription and eyeglasses. Id. at 3-4 ,, 14-15. She scheduled

an appointment for May 8, 2017. Id. at 4 , 16. Cummings explained

to Total Eye Care her albinism and blindness and requested an

interpreter, and Total Eye Care agreed to provide one. Id. at 4

,, 16-17.

     On May 5, 2017, Cummings called Total Eye Care, which said

that a staff member,    "Meghan," who knew sign language, would

interpret for her. Id. at 4 , 18. Cummings asked if Meghan was a

certified interpreter, and Total Eye Care replied that she was

not. Id. at 4 , 19. She then requested a certified interpreter,

and Total Eye Care responded that, if Cummings could not

understand Meghan, it would communicate in writing. Id. at 4 ,,

19-20. Cummings replied that, because of her visual impairment,

she cannot communicate effectively in writing. Id. at 4 , 21. The

same day, She then contacted a Total Eye Care office manager,

Lisa Shoemaker ("Shoemaker"), who repeated that Meghan would

interpret for her and declined to provide her a certified

interpreter. Id. at 5 ,, 23-25.


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        on May 8, 2017, Cummings again contacted Shoemaker, who

again said that Total Eye Care would not provide a certified

interpreter. Id. at 5 , 28. A Total Eye Care staff member added

that it does not serve people with albinism. Id. at 5 , 29.

Cummings did not attend her appointment on May 8, 2017, and

received eyeglasses from a different optometrist on May 26, 2017.

Id. at 6 , , 30-32. Total Eye Care's discrimination caused her to

"suffer humiliation,           frustration, and emotional distress." Id. at

6 ,    36. She "still wishes to access Defendant's services and

receive care in Defendant's facilities." Id. at 6-7 , 37.

       Total Eye Care discriminated against her on the basis of

disability by denying her a qualified interpreter,             in violation

of the Americans With Disabilities Act             ("ADA"), 42 U.S.C.   §


12182 (a)     (id. at 9 , 50), the Rehabilitation Act        ("RA"), 29

U.S.C.    §   794   (id. at 10, 58-59), the Affordable Care Act

("ACA"), 42 U.S.C.         §   18116   (id. at 11 , 68), and Tex. Hum. Res.

Code    ( "THRC")   §   121. 003   (id. at 12 , 79).

                                         ******
       Cummings sought in her complaint a declaratory judgment that

Total Eye Care, in violation of the ADA, RA, ACA, and THRC,

discriminated against her on the basis of disability. Id. at 13 ,

(a). She also requested injunctive relief, compensatory and

exemplary damages, and attorney's fees and costs for Total Eye


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Care's alleged violations of the ADA, RA, ACA, and THRC. Id. at

13    ~~       (b)-(d). Cummings withdrew her claim under Tex. Hum. Res.

Code       §   121.003, however,   in her response to Total Eye Care's

motion to dismiss. Doc. 31 at 4 n.3.

                                         II.

                              Grounds of the Motion

           Total Eye Care moved to dismiss Cummings's complaint for

lack of subject matter jurisdiction, based on its argument that

she lacks standing, and failure to state a claim upon which

relief can be granted.

                                        III.

                                      Analysis

           Total Eye Care contends, and has made a persuasive argument,

that this court lacks subject matter jurisdiction because

Cummings lacks standing. However, the court is assuming,

arguendo, that standing exists, and is basing its decision on

plaintiff's failure to state a claim upon which relief could be

granted.

A.      Pleading Standards

        Rule B(a) (2) of the Federal Rules of Civil Procedure

provides,         in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"


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Fed. R. Civ. P. B(a) (2),    •in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555           (2007)   (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations,           the "showing•

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court

must accept all of the factual allegations in the complaint as

true, it need not credit bare legal conclusions that are

unsupported by any factual underpinnings. See Ashcroft v. Igbal,

556 U.S. 662, 679 (2009)     ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations.") .

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Igbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.


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"Determining whether a complaint states a plausible claim for

relief .           [is]   a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."      Id.

B.      No Plausible Claim of Discrimination on the Basis of
        Disability Has Been Alleged

        Cummings claimed that three federal statutes -- the ADA, the

RA, and the ACA -- entitle her to relief. Each statute prohibits

discrimination against people on the basis of disability, but

each statute is enforced against a different kind of entity: the

ACA applies to public accommodations, 18 U.S.C.             §   18116, the RA

applies to federally-funded programs and activities, 29 U.S.C.                  §

794 (a), and the ACA applies to federally-funded health programs

and activities, 42 U.S.C.          §   12182(a).

        Even though the ADA and RA apply to different kinds of

entities, courts judge claims made under those statutes by the

same legal standards. Kemp v. Holder, 610 F.3d 231, 234               (5th Cir.

2010)     (per curiam). Jurisprudence interpreting either statute is

applicable to both. Delano-Pyle v. Victoria Cty., 302 F.3d 567,

574    (5th Cir. 2002). And, the ACA incorporates the RA by

reference. 18 U.S.C.        §   18116. As a result, the same analysis

applies to each of Cummings's federal law claims. See, e.g.,

Bernius v. Ochsner Med. Ctr.           - N. Shore, LLC, No. 16-14730, 2016



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WL 10586188, at *3    (E.D. La. Dec. 15, 2016)           (applying analysis of

plaintiff's RA claim to ACA claim); Borum v. Swisher Cty., No.

2:14-CV-127-J, 2014 WL 4874541, at *9             (N.D. Tex. Sept. 29, 2014)

(analyzing ADA and RA claims together as one claim) .

     Cummings claimed that Total Eye Care violated each of these

statutes by discriminating against her on the basis of

disability. Doc 20 at 9 , 50, 10 , 58-59, 11 ,              68, 12 , 79; Doc.

31 at 5-8. Discrimination on the basis of disability includes a

failure to provide the "auxiliary aids and services" necessary to

treat people with disabilities equally, 42 U.S.C.              §


12182 (b) (2) (A) (iii); 45 C.F.R.   §       84.52 (d) (1), or to ensure

effective communication, 28 C.F.R. § 36.303(c) (1). Auxiliary aids

and services include •qualified interpreters.• 42 U.S.C. §

12103 (1) (A). A qualified interpreter is an interpreter who can

"interpret effectively, accurately, and impartially, both

receptively and expressively, using any necessary specialized

vocabulary.• 28 C.F.R.    §   35.104. Nothing in the statute or

regulations requires that an interpreter be certified to be

qualified.

     Here, Cummings failed to plead facts that would allow the

court to infer that she has a plausible right to relief under the

ADA, RA, or ACA. She claimed that Meghan's lack of certification

shows that she is unqualified. But, Cummings did not allege any


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facts that would support an inference that lack of certification

indicates that an interpreter is unable to interpret effectively,

accurately, and impartially, or that Meghan did not have that

ability.

     Cummings also claimed that Total Eye Care's offer to

communicate in writing if she could not understand Meghan's

signing shows that Meghan is unqualified. But, Cummings did not

indicate how Total Eye Care's offer of an alternative means of

communication, in response to her protest of its choice of Meghan

as her interpreter, is related to Meghan's ability to interpret

effectively, accurately, and impartially.

     Cummings alleged no other facts bearing on Meghan's

qualifications as an interpreter. She cancelled her appointment

with Total Eye Care, Doc. 20 at 6 , 30, preventing her from

evaluating Meghan's interpreting skills. She did not allege that

Meghan's interpreting was inadequate, only that she assumed that

Meghan's signing would be inadequate based on her lack of

certification and the offer to communicate in writing. Neither of

these facts is related to Meghan's effectiveness. As a result,

Cummings failed to allege facts from which the court can

reasonably inf er that Total Eye Care failed to provide her a

qualified interpreter. Therefore, the court cannot conclude that

the ADA, RA, or ACA gives Cummings a plausible right to relief.


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For that reason, the court finds that Cummings's claims under the

ADA, RA, and ACA should be dismissed.

                                  ******
     In the final paragraph of plaintiff's response to the motion

to dismiss, plaintiff seems to be suggesting that the court

authorize her to file another amended complaint. Doc. 31 at 8-9.

     Local Civil Rule LR 5.l(c) requires that any document

containing more than one pleading, motion, or other paper

"clearly identify each pleading, motion, or other paper in its

title.• Local Civil Rule 15.l(a) further provides:

     When a party files a motion for leave to file an
     amended pleading . . . , the party must attach a copy
     of the proposed amended pleading as an exhibit to the
     motion. The party must also submit with the motion an
     original and a judge's copy of the proposed pleading.

     Plaintiff's request does not comply with any of these

requirements. Plaintiff's response does not identify any motion

for leave to amend in its title. Plaintiff did not attach a copy

of her proposed amended complaint as an exhibit, and she did not

submit an original or judge's copy of a proposed amended

complaint.

     Because of her noncompliance, the court does not consider

that she actually made a motion for leave to amend. Moreover,

even if the court were to interpret what she said as a motion for




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leave, the court could not evaluate the merit of such a motion

without any knowledge of what another amended complaint might

say. Therefore, the court is not granting plaintiff leave to

replead again.

                                    IV.

                         Conclusion and Order

     Because Cummings failed to state a claim upon which relief

can be granted, this court finds that Total Eye Care's motion to

dismiss should be granted. Therefore,

     The court ORDERS that Total Eye Care's motion to dismiss be,

and is hereby, granted, and Cummings's claims in the above-

captioned action be, and are hereby, dismissed.

     SIGNED January 3, 2019.




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